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                                                                       Hearing Date: April 5, 2016
  LAW OFFICE OF SCOTT A. STEINBERG                                     Hearing Time: 10:30 a.m.
  Proposed Attorney for the Debtor
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  UNITED STATES BANKRUPTCY COURT
  EASTERN DISTRICT OF NEW YORK
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  In re:

  40-01 NORTHERN BLVD. CORP.                                           Chapter 11
  d/b/a TEQUILA SUNRISE II,                                            Case No. 16- 40159 (ESS)
  d/b/a TEQUILA SUNRISE,

                                               Debtor.
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 DEBTOR’S RESPONSE TO THE OBJECTION OF THE UNITED STATES TRUSTEE
   TO THE DEBTOR’S MOTION TO EMPLOY AND RETAIN THE LAW OFFICE
        OF SCOTT A. STEINBERG AS ATTORNEY FOR THE DEBTOR,
                NUNC PRO TUNC, TO THE FILING DATE

TO: THE HONORABLE ELIZABETH S. STONG,
UNITED STATES BANKRUPTCY JUDGE:

        The above-captioned debtor and debtor-in-possession, 40-01 Northern Blvd. Corp. d/b/a

Tequila Sunrise II (the “Debtor”), files this Response To The Objection Of The United States

Trustee To The Debtor’s Motion To Employ And Retain The Law Office Of Scott A. Steinberg

As Attorney For The Debtor, Nunc Pro Tunc, To The Filing Date (the “Objection”), and in

further support of the Debtor’s Motion To Employ And Retain The Law Office Of Scott A.

Steinberg As Attorney For The Debtor, Nunc Pro Tunc, To The Filing Date (the “Motion”).

        1.       The facts are set forth in (i) the Motion, (ii) the Affidavit Of Diana Gonzalez In



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Support Of Application To Employ And Retain The Law Office Of Scott A. Steinberg As

Attorney For The Debtor, Nunc Pro Tunc, To The Filing Date (the “Initial Diana Gonzalez

Affidavit”), (iii) the Supplemental Affidavit Of Diana Gonzalez In Support Of Application To

Employ And Retain The Law Office Of Scott A. Steinberg As Attorney For The Debtor, Nunc

Pro Tunc, To The Filing Date (the “Supplemental Diana Gonzalez Affidavit”), (iv) the Affidavit

of Fernando Gonzalez In Support Of Application To Employ And Retain The Law Office Of

Scott A. Steinberg As Attorney For The Debtor, Nunc Pro Tunc, To The Filing Date (the

“Fernando Gonzalez Affidavit”), (v) the Affidavit Of Scott A. Steinberg In Support Of

Application To Employ And Retain The Law Office Of Scott A. Steinberg As Attorney For The

Debtor, Nunc Pro Tunc, To The Filing Date (the “Initial Steinberg Affidavit”), and (vi) the

Supplemental Affidavit Of Scott A. Steinberg In Support Of Application To Employ And Retain

The Law Office Of Scott A. Steinberg As Attorney For The Debtor, Nunc Pro Tunc, To The

Filing Date (the “Steinberg Supplemental Affidavit” and together with the Initial Diana Gonzalez

Affidavit, the Supplemental Diana Gonzalez Affidavit, the Fernando Gonzalez Affidavit, the

Initial Steinberg Affidavit and the Supplemental Steinberg Affidavit, the “Affidavits”), each of

which has been heretofore filed with the Court and are fully incorporated herein by reference.

       2.      In a nutshell, United States Trustee (the “Trustee”) argues that proposed counsel

for the Debtor, the Law Firm Of Scott A. Steinberg (“Steinberg”) is not disinterested as required

by the Bankruptcy Code because, as alleged by the Trustee (i) the Debtor did not expressly

consent to the arrangement, (ii) the payor of the retainer payment (the “Retainer”) did not retain

independent legal counsel to advise her before she advanced the funds for the Retainer, (iii) the

Motion does not address the issue of attorney compensation once the Retainer is exhausted, and

(iv) that Steinberg has not demonstrated disinterestedness, as required by the case of In re



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Kelton Motors, Inc. 109 B.R. 641, 658 (Bankr. D. Vt. 1989).

         3.       As will be shown below, the Trustee’s Objection is factually erroneous,

misinterprets and misapplies the law cited in the Objection and ignores precedent on virtually

identical facts.1 Moreover, as a matter of policy the Trustee’s position would make it difficult

for small debtors to retain competent counsel for Chapter 11.

                           THIRD PARTY RETAINER REQUIREMENTS

         4.       It is well settled in New York that the payment of third party retainers for the

purpose of enabling debtors to retain counsel is permitted. See In re Lar Dan Enterprises, Inc.,

221 B.R. 93 (Bankr. S.D.N.Y. 1998). In Lar Dan, the Court held that a law firm was not

disqualified to serve as debtor’s counsel even though the firm had received compensation from a

third party insider. Lar Dan is consistent with cases in other jurisdictions holding that where an

attorney for the debtor is compensated by a third party, it does not give rise to a per se conflict of

interest. See Lar Dan, 221 B.R. at 96, In re Lotus Properties, LP, 200 B.R. 388 (Bankr. C.D.

Cal. 1996), In re Kelton Motors, Inc., 109 B.R. 641 (Bankr. D. Vt. 1989).

         5.       In Lar Dan the Court adopted the five-factor test set forth in Kelton Motors to

establish whether compensation paid to debtor’s counsel from a third party results in a conflict of

interest between the debtor and the payor of that compensation. In Kelton Motors, creditors

moved to disqualify the debtor-in-possession’s counsel who received fees from the debtor’s sole

shareholder, officer and officer’s spouse. In holding that disqualification was not warranted, the

Court identified five factors relevant to the analysis. These factors include (1) whether the




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  The Objection does not even address the issue of whether the Retainer payment was a loan to the Debtor, as set
forth in detail in the Initial Diana Gonzalez Affidavit, the Supplemental Diana Gonzalez Affidavit, the Fernando
Gonzalez Affidavit and the Supplemental Steinberg Affidavit. For purposes of this Response, and without waiving
its right to argue that the Retainer was a loan, the Debtor is assuming, arguendo, that the Retainer payment is a third
party retainer payment.

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arrangement was fully disclosed to the debtor and the third party payor/insider, (2) whether the

debtor expressly consented to the arrangement, (3) whether the third party payor retained

independent legal counsel and understood that the attorney’s undivided duty of loyalty is owed

exclusively to the debtor, (4) whether the third party arrangement was fully disclosed to the

Court at the outset of the representation, and (5) whether proposed counsel can demonstrate the

absence of facts which otherwise would create non-disinterestedness. In re Kelton Motors, Inc.,

109 B.R. at 658; In re Lar Dan Enterprises, Inc., 221 B.R. at 96.

        6.       Applying the Kelton Motors factors as adopted by Lar Dan, the facts, as set forth

in the Motion and the Affidavits, clearly demonstrates that Steinberg has satisfied all of the

Kelton Motors factors and is disinterested. As such, Steinberg’s retention as counsel to the

Debtor should be approved.

        7.       As will be shown herein, contrary to the Trustee’s Objection, each of the Kelton

Motors factors is unequivocally satisfied. First, as to factor one, disclosure of the arrangement to

the Debtor and the third party payor (Ms. Gonzalez), there is no dispute that Ms. Gonzalez paid

the Retainer at the request of and with the consent of the Debtor. Factor number two, that the

Debtor must consent to the arrangement, also should not be an issue. Obviously the Debtor

consented to the arrangement as the Debtor voluntarily borrowed the funds from its

principal/sole shareholder’s daughter and scheduled Ms. Gonzalez as an undisputed general

unsecured creditor.

        8.       Strangely, the Trustee alleges that the consent requirement has not been satisfied

because the Debtor did not provide any loan documentation or other evidence demonstrating that

the Retainer payment was intended to be a loan.2 However, neither Kelton Motors nor Lar Dan


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  The Trustee cannot have it both ways. The arrangement is either a loan by Ms. Gonzalez to the Debtor, as was the
intent, see, Initial Diana Gonzalez Affidavit, Supplemental Diana Gonzalez Affidavit and the Fernando Gonzalez

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require that the arrangement be in writing and that loan documentation be executed, and the

Trustee has cited no authority for this self-serving expansion of factor two. Moreover, as set

forth above, the Debtor has scheduled Ms. Gonzalez as a general unsecured creditor, for, among

other things, the funds advanced for the Retainer payment.

         9.       With respect to factor three, i.e., whether Ms. Gonzalez sought the advice of

counsel, the Trustee again misreads Kelton Motors and Lar Dan. Kelton Motors specifically

states that “[o]ur list [of factors] is not exhaustive, nor must every condition be satisfied in every

situation, but rather, it is to serve as a guide.” (emphasis added). 109 B.R. at 658. Indeed,

neither the Kelton Motors decision nor the Lar Dan decision state that the third party

payor/insider consulted independent legal counsel.

         10.      In the facts at bar, Ms. Gonzalez was advised to consult legal counsel, see Initial

Diana Gonzalez Affidavit and the Supplemental Diana Gonzalez Affidavit, and she elected not to

do so. As she stated in the Supplemental Diana Gonzalez Affidavit “[I] made the loan to the

Debtor so that everything my father has worked for in the last 29 years is not lost. I do not need

the advice of counsel to do what any loving, devoted daughter would do when a parent is facing

the loss of everything he has worked for.”

         11.      The Debtor respectfully submits that requiring Ms. Gonzalez to retain legal

counsel to advise her with respect to the Retainer loan to the Debtor is inappropriate and would

not have resulted in any different or modified decision by Ms. Gonzalez. Similarly, requiring

loan documentation ignores the fact that the third party payor is the principal/sole shareholder’s

daughter.



Affidavit, or the Retainer payment was a payment by a third party payor, as the Trustee alleges in its analysis of
factor five. If the Retainer was a loan to the Debtor, then there is no issue as the Retainer has come from the Debtor.
If the Retainer payment is a third party payment, the Trustee’s analysis of factor two is wrong.

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       12.     Factor four, requiring full disclosure to the court at the outset of the

representation, has been done. The Motion, the Initial Diana Gonzalez Affidavit, the Initial

Steinberg Affidavit and the Supplemental Steinberg Affidavit each set forth that Ms. Gonzalez

advanced the Retainer on behalf of the Debtor and the circumstances leading up the Retainer

payment. The Trustee asserts that this factor has not been satisfied because the Motion doesn’t

state whether the third party payor (Ms. Gonzalez) is responsible for future fees. The

Supplemental Steinberg Affidavit and the Supplemental Diana Gonzalez Affidavit each state

unequivocally that Steinberg is looking only to the Debtor, pursuant to proper application made

to the Court, for the payment of fees and expenses over and above the Retainer. Thus, the

Trustee’s Objection with respect to factor four is resolved.

       13.     With respect to factor five, i.e. proposed counsel must demonstrate and represent

to the Court the absence of facts that would otherwise create non-disinterestedness or actual or

potential conflict, the Affidavits and the Motion clearly evidence that Steinberg is disinterested.

There is no actual conflict as Steinberg is representing only the Debtor, Steinberg has not and

will not advise Ms. Gonzalez with respect to her claim against the Debtor and Steinberg will not

be looking to Ms. Gonzalez for fees and expenses incurred in representing the Debtor. Likewise,

there is no potential conflict because Steinberg and Ms. Gonzalez have acknowledged that

Steinberg’s duty of loyalty runs solely and exclusively to the Debtor, and as set forth above,

under no circumstances will Ms. Gonzalez be responsible for fees and expenses incurred by the

Debtor.

       14.     Finally, Ms. Gonzalez is not an officer, director, employee or shareholder of the

Debtor, and as such, she has no authority or ability to direct Steinberg in any manner in this

proceeding. Thus, Steinberg’s ability to counsel the Debtor cannot and will not be compromised



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in any fashion by Ms. Gonzalez.

       15.     The Debtor respectfully submits that Steinberg has demonstrated his

disinterestedness to the Court and has satisfied the other relevant factors set forth in Lar Dan and

Kelton Motors. Accordingly, the Trustee’s Objection should be overruled and Steinberg’s

retention approved.

                         THIS EXACT ARRANGEMENT HAS
                   PREVIOUSLY BEEN APPROVED BY THE TRUSTEE

       16.     The third party payor arrangement utilized in this case has been previously

approved by the Trustee and the Court in the Chapter 11 case of In re Robert Litwin, Case No.

14-12933 in the Southern District of New York. As set forth in detail in the Supplemental

Steinberg Affidavit and Exhibit “B” attached thereto, in the Robert Litwin case an emergency

filing needed to be made and the debtor did not have sufficient funds on hand to pay proposed

counsel’s retainer. A friend of the debtor was going to loan the debtor $5,000 for the retainer,

plus the filing fee, but because the filing needed to be done before a check would clear, the third

party payor paid the retainer directly to counsel and the third party payor was scheduled as a

creditor of the debtor.

       17.     The affidavits in Litwin, which are virtually identical to the Initial Diana Gonzalez

Affidavit and the Initial Steinberg Affidavit, disclose this arrangement and state that the retainer

payment was always intended to be a loan to the debtor. The Trustee approved counsel’s

retention and the Court, Judge Gerber presiding, entered the order without a hearing.

       18.     The Trustee was made aware of the Litwin precedent in an initial telephone

conference. The Trustee’s response was: “that was the southern district, not the eastern district.”

       19.     The Debtor respectfully submits that Litwin was approved because it makes

perfect sense, not because the analysis is any different in the Southern District of New York


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(where Lar Dan was decided and upon which the Trustee relies). Indeed, the Trustee has not

cited one case from the Eastern District of New York in support of its Objection.

         20.   If the Trustee had made even a cursory examination of the Litwin retention

pleadings, it would have seen that the arrangement utilized herein satisfies the requisite legal

standard for the approval of third party retainer payments.

         21.   Thus, if there was any doubt whether the third party payor arrangement in this

case satisfies the Lar Dan standard, the Debtor submits that the Litwin precedent puts the issue to

rest.

                       THE TRUSTEE’S POSITION IS BAD POLICY

         22.   In addition to being incorrect as a matter of law, the Trustee’s position is bad

policy because such a policy makes it difficult for small businesses in financial distress to get

vital legal representation and to avail themselves of Chapter 11 relief. Frequently, small

businesses do not have sufficient funds on hand to afford to retain competent bankruptcy

counsel. If payments by third party/insiders i.e. the daughter of the sole shareholder, are

prohibited, many small corporate debtors, whose businesses could be reorganized and

rehabilitated under Chapter 11, will be unable to retain counsel and in effect, unable to seek

relief under the Bankruptcy Code.

         23.   As stated by the Court in Kelton Motors, “Many small corporations facing the

threshold of the Bankruptcy Court depend upon their key, and many times solvent, insiders to

fund the debtor’s bankruptcy attorney for the latter’s undertaking of vital pre- and post-

bankruptcy representation.” In so noting the Court held that an equitable approach, rather than a

hard and fast rule is more consistent with the Bankruptcy Court and a court of equity. 109 B.R. at

657.



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       24.     In the case at bar, the preferred policy, as noted in Kelton Motors, is entirely

consistent with the legal analysis. At the time the Debtor met with proposed counsel the Debtor

was in severe financial distress and did not have sufficient funds to pay a retainer. Absent the

advance of the Retainer payment by Ms. Gonzalez, the Debtor would not have been able to retain

counsel and seek relief under the Bankruptcy Code. Proposed counsel for the Debtor has

affirmed his sole allegiance is to the Debtor, and the payor of the Retainer has acknowledged that

proposed counsel cannot and will not represent her in any manner in this case.

       25.     The Debtor respectfully submits that denying the Debtor’s motion to retain

Steinberg as its counsel would set bad precedent and be bad policy.

       26.     In sum, the Debtor’s Motion to retain Steinberg should be granted because

Steinberg has satisfied the standard set forth in Kelton Motors and adopted by Lar Dan court, as

a matter of fact and as a matter of law. There is no conflict, actual or potential, and both

Steinberg and Ms. Gonzalez have represented that Steinberg is representing the Debtor only.

Moreover, any and all fees incurred over and above the Retainer will be the responsibility of the

Debtor only. Finally, all aspects of the payment of the Retainer and the relationship of the

parties has been fully disclosed at the time the representation was sought.

       27.     For all of the reasons stated above, the Debtor’s Motion should be granted

forthwith.




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       WHEREFORE, the Debtor respectfully prays for the entry of an order granting the

Debtor’s Motion, authorizing the Debtor’s retention of Steinberg as its counsel in this Chapter 11

case and granting the Debtor such other relief as is just and proper.

Dated: Mineola, New York
       March 29, 2016

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                                              By: /s/ Scott A. Steinberg
                                                      Scott A. Steinberg




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